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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                      Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                          Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                      (Jointly Administered)
_________________________________/

            NOTICE OF EXAMINATION PURSUANT TO FEDERAL RULE
          OF BANKRUPTCY PROCEDURE 2004 AND NOTICE OF SUBPOENA
                            DOCUMENTS ONLY

         Nicholas Wood, Colin Diss, and Michael Leeds, the joint liquidators (“Foreign

Representatives”), by the undersigned attorney, request that Federal Reserve Bank of New York

(FRB), on Monday, July 10, 2023 no later than 5:00 p.m. at Sequor Law, attn.: Templeton N.

Timothy, 1111 Brickell Avenue, Suite 1250, Miami, FL 33131, nmiller@sequorlaw.com;

ttimothy@sequorlaw.com; mcohen@sequorlaw.com (if produced by mail or electronically or by

hand delivery), produce all of the documents as detailed in the Subpoena to Produce Documents,

Information, or Objects or to Permit Inspection of Premises in a Bankruptcy Case Examination

included with this Notice, attached hereto and incorporated herein.

         This request for production of documents is pursuant to Rule 2004, Federal Rules of

Bankruptcy Procedure, and Local Rule 2004-1, Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of Florida. The scope of the request is as described in

Bankruptcy Rule 2004. Pursuant to Local Rule 2004-1 no order shall be necessary.

         Dated: June 21, 2023




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                                                       Respectfully submitted,

                                                       SEQUOR LAW, P.A.
                                                       1111 Brickell Avenue, Suite 1250
                                                       Miami, Florida 33131
                                                       nmiller@sequorlaw.com
                                                       ttimothy@sequorlaw.com
                                                       Telephone: (305) 372-8282
                                                       Facsimile: (305) 372-8202

                                               By:     /s/ Templeton N. Timothy
                                                       Templeton N. Timothy
                                                       Fla. Bar No.: 1025172
                                                       Nyana Abreu Miller, Esq.
                                                       Fla. Bar No.: 92903

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants in this case and via regular US mail to all participants who are

not on the list to receive e-mail notice/service for this case as indicated on the service list on June

21, 2023.

                                                       By:     /s/ Templeton N. Timothy
                                                               Templeton N. Timothy, Esq.

                                          SERVICE LIST

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   Nyana Abreu Miller, Esq. nmiller@sequorlaw.com; Templeton N. Timothy, Esq.
       ttimothy@sequorlaw.com; mcohen@sequorlaw.com
   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Manual Notice List

   •    (No manual recipients)

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                                          SEQUOR LAW, P.A.
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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov
   In re:                                                      Case No.: 21-16133-LMI

   OCEANROAD GLOBAL SERVICES LIMITED,                                         Chapter 15
   HOLDWAVE TRADING LIMITED,

         Debtors in a Foreign Proceeding.                                     (Jointly Administered)
   _________________________________/

                               SUBPOENA FOR RULE 2004 EXAMINATION
                                         (Documents Only)

   To:                  Federal Reserve Bank of New York (FRB)
   By Serving:          33 Liberty St.
                        New York, NY 10045

   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an
examination under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.

 PLACE: (If not produced electronically)                   DATE AND TIME
   Veritext Legal Solutions
   7 Times Square                                          July 10, 2023, no later than 5:00 p.m.
   16th Floor
   New York, NY 10036
The examination will be recorded by this method: Documents only, no testimony will be taken at this time.
X Production: YOU ARE COMMANDED to produce the following documents, electronically stored
information, or objects, and must permit inspection, copying, testing, or sampling of the material at the time, date,
and place set forth below (if different from that of the examination): See Schedule I attached hereto.


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P.
9016, are attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a
person subject to a subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the
potential consequences of not doing so.

Date: June 20, 2023
                       CLERK OF COURT
                     ___________________________           OR          /s/ Templeton N. Timothy
                    Signature of Clerk or Deputy Clerk                 Attorney’s signature
The name, address, email address, and telephone number of the attorneys representing Nicholas Wood, Colin
Diss, and Michael Leeds (“Foreign Representatives”), who issue or request this subpoena, are: Nyana Abreu Miller
(nmiller@sequorlaw.com; mcohen@sequorlaw.com); Templeton N. Timothy (ttimothy@sequorlaw.com); 1111
Brickell Avenue, Suite 1250, Miami, FL 33131; Tel. (305) 372-8282.
                             Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or
the inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it
is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                          PROOF OF SERVICE
         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

    I received this subpoena for (name of individual and title, if any):                            on (date)

    I served the subpoena by delivering a copy to the named person as follows: _________________

                                                     on (date)                             ; or

    I returned the subpoena unexecuted because: _________________________________________


    Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I
    have also tendered to the witness the fees for one day’s attendance, and the mileage
    allowed by law, in the amount of
    $                               .
    My fees are $                 for travel and $                 for services, for a total of $           .

    I declare under penalty of perjury that this information is true and correct.

    Date:


                                                                                  Server’s signature



                                                                                  Printed name and title




                                                                                  Server’s address


         Additional information concerning attempted service, etc.:




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                        Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
               (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                       (C) Specifying Conditions as an Alternative. In the circumstances
      (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
      (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                                (i) shows a substantial need for the testimony or material that cannot
        (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
        (ii) is commanded to attend a trial and would not incur substantial                (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                           compensated.
   (2) For Other Discovery. A subpoena may command:
      (A) production of documents, or electronically stored information, or        (e) Duties in Responding to a Subpoena.
things at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and                                        (1) Producing Documents or Electronically Stored Information. These
      (B) inspection of premises, at the premises to be inspected.                 procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                              (A) Documents. A person responding to a subpoena to produce
                                                                                   documents must produce them as they are kept in the ordinary course of
   (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            business or must organize and label them to correspond to the categories in
responsible for issuing and serving a subpoena must take reasonable steps to       the demand.
avoid imposing undue burden or expense on a person subject to the subpoena.              (B) Form for Producing Electronically Stored Information Not
The court for the district where compliance is required must enforce this duty     Specified. If a subpoena does not specify a form for producing electronically
and impose an appropriate sanction — which may include lost earnings and           stored information, the person responding must produce it in a form or forms in
reasonable attorney's fees — on a party or attorney who fails to comply.           which it is ordinarily maintained or in a reasonably usable form or forms.
   (2) Command to Produce Materials or Permit Inspection.                                (C) Electronically Stored Information Produced in Only One Form. The
      (A) Appearance Not Required. A person commanded to produce                   person responding need not produce the same electronically stored
documents, electronically stored information, or tangible things, or to permit     information in more than one form.
the inspection of premises, need not appear in person at the place of                    (D) Inaccessible Electronically Stored Information. The person
production or inspection unless also commanded to appear for a deposition,         responding need not provide discovery of electronically stored information
hearing, or trial.                                                                 from sources that the person identifies as not reasonably accessible because of
      (B) Objections. A person commanded to produce documents or tangible          undue burden or cost. On motion to compel discovery or for a protective
things or to permit inspection may serve on the party or attorney designated       order, the person responding must show that the information is not reasonably
in the subpoena a written objection to inspecting, copying, testing or             accessible because of undue burden or cost. If that showing is made, the court
sampling any or all of the materials or to inspecting the premises — or to         may nonetheless order discovery from such sources if the requesting party
producing electronically stored information in the form or forms requested.        shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
The objection must be served before the earlier of the time specified for          may specify conditions for the discovery.
compliance or 14 days after the subpoena is served. If an objection is made,          (2) Claiming Privilege or Protection.
the following rules apply:                                                               (A) Information Withheld. A person withholding subpoenaed
         (i) At any time, on notice to the commanded person, the serving party     information under a claim that it is privileged or subject to protection as trial-
may move the court for the district where compliance is required for an order      preparation material must:
compelling production or inspection.                                                        (i) expressly make the claim; and
         (ii) These acts may be required only as directed in the order, and the             (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from      or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                     privileged or protected, will enable the parties to assess the claim.
  (3) Quashing or Modifying a Subpoena.                                                  (B) Information Produced. If information produced in response to a
     (A) When Required. On timely motion, the court for the district where         subpoena is subject to a claim of privilege or of protection as trial-preparation
compliance is required must quash or modify a subpoena that:                       material, the person making the claim may notify any party that received the
        (i) fails to allow a reasonable time to comply;                            information of the claim and the basis for it. After being notified, a party must
        (ii) requires a person to comply beyond the geographical limits            promptly return, sequester, or destroy the specified information and any copies
specified in Rule 45(c);                                                           it has; must not use or disclose the information until the claim is resolved;
        (iii) requires disclosure of privileged or other protected matter, if no   must take reasonable steps to retrieve the information if the party disclosed it
exception or waiver applies; or                                                    before being notified; and may promptly present the information under seal to
        (iv) subjects a person to undue burden.                                    the court for the district where compliance is required for a determination of
     (B) When Permitted. To protect a person subject to or affected by a           the claim. The person who produced the information must preserve the
subpoena, the court for the district where compliance is required may, on          information until the claim is resolved.
motion, quash or modify the subpoena if it requires:                               ...
        (i) disclosing a trade secret or other confidential research,              (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                         also, after a motion is transferred, the issuing court – may hold in contempt a
                                                                                   person who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.

                                      For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

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                                       SCHEDULE I

                                     INSTRUCTIONS

1.      Each person or entity listed in Table A shall be deemed to include any name of similar
variation, including the names in the “also known as” column. Accordingly, a request for
Documents involving a person or entity listed in Table A shall also encompass any person or
entity similarly named or included in the “also known as” column.

2.     If no date is specified, each Document Request requests all responsive documents within
the applicable document retention period.

                                    DOCUMENT REQUESTS

   1. For the period beginning January 1, 2009 to December 31, 2012, an electronic copy of all
      wire transfers processed through Federal Reserve Bank of NY (“Fedwire” or “ FBR”) in
      which the following search terms appear in the wire/payment message:

The Gemesis Diamond Company                     The Gemesis Diamonds
                                                Gemesis Diamond Company
Formerly known as the Gemesis Corporation       Gemesis Diamonds

IIA Holdings Group Limited                      IIA Holdings Group
                                                IIA Holdings Group Ltd
Formerly known as Century Springs Overseas      IIA Holdings Ltd
Limited                                         11A Holdings
                                                Century Springs Overseas Limited
                                                Century Springs Overseas
                                                Century Springs Overseas Ltd

IIA Technologies Sdn Bhd                        IIA Technologies
                                                11A Technologies
Formerly known as Gemesis Malaysia Sdn          11A Technologies Sdn Bhd
Bhd                                             2a Technologies
                                                Gemesis Malaysia Sdn Bhd
                                                Gemesis Malaysia

IIA Technologies Pte Ltd                  IIA Technologies Pte
                                          IIA Technologies
Formerly known as The Gemesis Company (S) IIA Technologies Ltd
Pte Ltd and Nozomi Technotron Pte Ltd     11A Technologies
                                          11A Technologies Pte Ltd
                                          2A Technologies
                                          Gemesis Company (S) Pte
                                          Gemesis Company Pte
                                          Gemesis Company Pte Ltd

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Pure Grown Diamonds Inc.                      Pure Grown Diamonds
                                              Pure Grown Diamond
Formerly known as Gemesis Inc and             Pure Grown
Gem Company                                   Gemesis Inc
                                              Gem Company
                                              Gemesis Company




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